Case 2:07-cv-02291-KM-MCA Document 119 Filed 07/01/14 Page 1 of 19 PageID: 6811



                         UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEW JERSEY



  LAUREEN BULL,
                                                  Civ. No. 07-2291 (KM)(MCA)
                             Plaintiff,
                                                         OPINION
                                                  ON POST-TRIAL MOTIONS
  UNITED PARCEL SERVICE, INC.,

                             Defendant.



  MCNULTY, U.S.D.J.,

        In this employment discrimination brought pursuant to the New Jersey
  Law Against Discrimination (“LAD”), N.J.S.A. § 10:5-1 to 10:5-49, a jury
  reached a verdict in Defendant’s favor following a five-day trial. Thereafter, both
  parties filed motions for post-trial relief. I will deny the pending motions and
  enter Judgment in accordance with the jury’s verdict.

                               PROCEDURAL HISTORY

        In April 2007, Ms. Bull filed this suit asserting various discrimination
  claims under the LAD, as well as retaliation claims, in the Superior Court of
  New Jersey. UPS removed the case to this Court in May 2007. Then-District
  Judge Dennis M. Cavanaugh’ convened a jury trial in March 2010. On the
  third day of trial, Ms. Bull, on the witness stand, revealed that she possessed
  at home the original of a key document (a doctor’s note dated June 13, 2006),
  which was requested by UPS in discovery but never produced. As a sanction,
  Judge Cavanaugh declared a mistrial and dismissed Ms. Bull’s claims. The
  United States Court of Appeals for the Third Circuit held that the sanction of
  dismissal was not justified, and remanded the matter. [ECF No. 72]. The case
  was reassigned to me. On remand, no party pressed the issue of sanctions.

        I convened a second jury trial in November 2013. The parties presented
  evidence for five days, after which I charged the jury to render a verdict as to
  the two remaining counts:

                -   Count One: Disability Discrimination (LAD)



        1   Judge Cavanaugh retired on January 31, 2014.
Case 2:07-cv-02291-KM-MCA Document 119 Filed 07/01/14 Page 2 of 19 PageID: 6812



             -     Count Two: Retaliation for Filing a Worker’s Compensation
                   Claim.

       The jury was instructed on the pertinent law concerning those two
 counts. The parties did not express any objection to the contents of the jury
 charge as delivered following the charge conference, and they do not challenge
 the jury instructions in this motion.

        Plaintiff did, however, voice an objection to the wording of certain
 interrogatories on the jury verdict sheet, as well as the order in which certain
 interrogatories were asked. The interrogatories were posed to and answered by
 the jury as follows:

             Count 1 (Disability Discrimination)

             We, the jury, fmd that Plaintiff Laureen Bull has proven, by
             a preponderance of the evidence that:

             1.     Ms. Bull suffered from a disability as a result of her
             injury. (Nofindirig necessary, as parties agreed)

             2.     Ms. Bull was actually performing her job prior to
             April 4, 2006; _x_YESNO (Jury answered YES).

             3.     Ms. Bull was terminated by United Parcel Service,
             Inc. (UPS); _YES_x_NO (Jury answered NO).

             4.    In terminating Ms. Bull, UPS discriminated on the
             basis of her disability. _YES_xNO (Jury answered
             NO).

             5.   Ms. Bull was able to perform the essential functions
             of her job, either with or without a reasonable
             accommodation; _x_YESNO (Jury answered YES).

             6.    UPS was aware that Ms. Bull needed a reasonable
             accommodation to perform the essential functions of her
             job; _x_YESNO (Jury answered YES).

             7.     At the time Ms. Bull was fired, a reasonable
             accommodation existed that would have allowed her to
             perform the essential functions of her job; xYESNO
             (Jury answered YES).

                 8.   UPS wrongfully did not make such a reasonable
                 accommodation; _x_YES.NO (Jury answered YES).

             If YES to ALL of the above (1 through 8), continue to
             number 9.


                                           2
Case 2:07-cv-02291-KM-MCA Document 119 Filed 07/01/14 Page 3 of 19 PageID: 6813



              If NO to ANY of the above, you have FOUND IN FAVOR
              OF UPS on Count 1, and must skip to Count 2.

              We, the jury, find that UPS has established, with a
              reasonable degree of certainty, that:

              9.    Prior to terminating Ms. Bull, UPS arrived at the
              conclusion, based on factual or scientific evidence, that
              employing Ms. Bull even with a reasonable accommodation
              would have materially increased the risk of serious harm to
              Ms.      Bull    and/or      her      fellow     employees.
              __YES __NO (Jury did riot reach this question).

              If YES to number 9, you have FOUND IN FAVOR OF UPS
              on Count 1, and should continue to Count 2.

              If NO to number 9, you have FOUND IN FAVOR OF MS.
              BULL on Count 1, and should continue to Count 2.



              Count 2 (Retaliation for Filing Worker’s Compensation
              Claim)

              We, the jury, find that Plaintiff Laureen Bull has proven, by
              a preponderance of the evidence, that:
              1.     UPS terminated her employment on April 4, 2006
              because she made a workers’ compensation claim and/or
              sought workers’ compensation benefits. _YES_x_NO
              (Jury answered NO).

              If YES, then you have FOUND IN FAVOR OF MS. BULL
              on Count 2.

              If NO, then you have FOUND IN FAVOR OF UPS on
              Count 2.

        Plaintiff’s objections at trial, like her current motions, pertain only to
  Count 1. The jury found against Plaintiff on Count 1 by virtue of its finding
  that UPS did not, as alleged, terminate Ms. Bull’s employment and discriminate
  on the basis of disability. (See Verdict sheet Interrogatories 3 and 4). Ms. Bull
  is clearly disappointed that the jury found that she was not terminated,
  contrary to her contention since the outset of this action. (See Complaint at ¶
  92). She now contends, however, that the jury should never have been asked to
  make a separate finding as to whether she was terminated. Alternatively, she
  argues that the manner in which that question was posed misled the jury or
  misrepresented the legal import of such termination.



                                            3
Case 2:07-cv-02291-KM-MCA Document 119 Filed 07/01/14 Page 4 of 19 PageID: 6814



        Accordingly, Ms. Bull seeks a new trial on the basis that the verdict sheet
 misled the jury as to the law, citing Rule 59. (See Part I, infra). She also
 complains that the jury’s answers to the interrogatories as posed were
 mutually inconsistent. Thus she also seeks a new trial pursuant to Rule 49.
 (See Part II, infra). She appears to embed a motion for judgment as a matter of
 law within her Rule 49 motion; that motion, which she does not elaborate on, I
 will deny summarily.

       UPS renews the motion that it made for judgment as a matter of law,
 pursuant to Rule 50, that it made at the close of Ms. Bull’s case. UPS contends
 that Ms. Bull’s claims are preempted by the Labor Relations Management Act,
 because they pertain to a valid collective bargaining agreement governing her
 rights as an employee. (See Part III, infra).

                             FACTUAL BACKGROUND

       Ms. Bull went to work for UPS in 1986 as a warehouse employee in its
 Edison, New Jersey facility. (Trial Testimony of Bull, 11/19/13 Tr. at 5:3-4,
 6:15-17). The job is a physical one, and from time to time she was injured. (Id.
 at 8:24-9:16). On eight or nine occasions she took disability leave, the longest
 of which was six months. (Exs. D94-D97, D101, D104-D1 10). Each time, she
 returned to work when she was medically cleared to do so. (See generally Bull
 Testimony, 11/20/13 Tr. at 51:11-24 (regarding Ms. Bull’s prior knowledge of
 the doctor note requirement)).

         There is no dispute that Ms. Bull had an on-the-job accident on
  December 19, 2005. With the help of a co-worker, she was lifting overhead a
  package containing a snowplow. The co-worker lost her grip and the package
  fell on Ms. Bull, injuring her. (Bull Testimony, 11/19/13 Tr. at 10:8-16).

          Soon thereafter, Ms. Bull returned to work. UPS placed her on “light
  duty” for a time. (Id. at 23:21-27:7-9). In January 2006, Ms. Bull obtained
  notes from Dr. Katalin Horvath and Dr. Teresa Vega stating that her lifting was
  restricted to 20 or 25 pounds. (11/19/13 Tr. at 20:24-27:3). After over a month
  of light duty work, however, she was advised to go on workers’ compensation
  leave, which she did. (Id. at 27:9-15). On March 1, 2006, she saw Dr. Vega
  again; Vega reconfirmed the lifting restriction of 20 to 25 pounds. (Id. at 27:21 -




  25). On March 15, 2006, Dr. Vega reimposed the same lifting restriction. (Id. at
  28:1-8). Finally, on March 29, 2006, Ms. Bull got a note from Dr. Vega stating
  that she had reached maximum recovery and should not lift more than 10
  pounds “overhead.” (Id. at 28:12-20). The same day, Ms. Bull gave that doctor’s
  note to her supervisor, Janet Liposky. Liposky immediately assigned Ms. Bull
  to the “Smalls” or “Small Sorts” department. (Id. at 28:21-29:14). There, Bull
  handled bags of packages weighing no more than ten pounds. She did not have
  to lift anything overhead, but rather only six inches off the floor. (Id. at 29:15-

                                          4
Case 2:07-cv-02291-KM-MCA Document 119 Filed 07/01/14 Page 5 of 19 PageID: 6815



 30:12). It is fair to conclude that the jury substantially accepted the facts
 stated in this paragraph.

        Ms. Bull testified that five days later, on April 4, 2006, upon arriving for
 work, she “was directed to leave the building and told that I could no longer
 work for UPS any more. I had to punch out and leave because of supposedly
 comments I made to the doctor.” (Id. at 32:20-33:6). Supervisory personnel
 allegedly told her she could not work at UPS any more. (Id.; 11/20/13 Tr. at
 17:3-25). The jury evidently did not necessarily accept Bull’s testimony and
 evidence on this point, because it found that UPS never terminated her.
                                                                       2

        The post-April 4, 2006 period was one of informational stalemate.
 Confusion reigned about matters as fundamental as whether Ms. Bull was
 trying to establish that she was disabled, or was not disabled. On June 13,
 2006, she went to Dr. Farber, who gave her a note. This note was partially cut
 off in the faxing process, self-contradictory in some respects, and difficult to
 read in places. As to the disability, however, the thrust of the note was that
 Bull was capable of lifting “50 lbs. or more.” (Ex. P27; Bull Testimony,
 11/19/ 13 Transcript at 39: 19-40:4).

       Bull faxed that June 13 note to her union representative. (Bull
 Testimony, 11/19/13 Transcript at 40:5-17) Her evident intent was to
 demonstrate that she met job requirements (id. at 40:8-42-3).3 Thereafter,
 however, her union representative Bob Cherney told her that the requirement

       2   UPS introduced corroborating evidence that there was no termination. Bull
 did not receive any notice of termination. In June 2006 she received a 20-year service
 award. She continued to receive checks for back pay, vacation pay and holiday pay as
 it accrued. (Exs. D66-D84). She received notices inviting her to re-enroll in the health
 plan. (Ex. D131).
       3   At the first trial of this matter, Ms. Bull sought to introduce a copy of this
 note, and UPS objected on the basis of “best evidence.” Then, in open court, Ms. Bull
 stated that she possessed the original of this note, which had not been produced in
 discovery. That gave rise to the above-described mistrial and dismissal, which the U.S.
 Court of Appeals for the Third Circuit reversed. See 665 F.3d 68, 70-72 (3d Cir. 2012).
 Ms. Bull, apparently on her own, mailed to Judge Cavanaugh what she purported to
 be the originals of both the June 13, 2006 note and a subsequent August 14, 2006
 note from Dr. Farber. Id. at 72. The parties agreed that the August 2006 note was an
 original, but disputed whether Ms. Bull had actually furnished the original of the June
 2006 note. (See 4/2/13 Bissinger Ltr. [ECF No. 831). Ultimately, before the second trial
 commenced, the parties agreed that Ms. Bull would only rely on the faxed copies of the
 two notes, and that UPS would drop its objections concerning the notes. (See 6/26/13
 Bissinger Ltr. [ECF No. 871). Ironically, at the second trial, Ms. Bull produced from her
 briefcase what she said was a termination letter, dating from long after the events in
 suit; by mutual agreement of the parties, this letter, which apparently was not
 produced in discovery by either side, was not introduced in evidence. (See Bull
 Testimony, 11/19/l3Tr. at 98:13-24).
                                            5
Case 2:07-cv-02291-KM-MCA Document 119 Filed 07/01/14 Page 6 of 19 PageID: 6816



 of the job was the ability to lift 70, not 50, pounds. (Cherney Testimony,
 11/22/13 Tr. at 30:4-31:2). As to that point, the doctor’s statement that she
 could lift 50 pounds “or more” was ambiguous. (See Ex. P27). The union
 representative stated that if Bull obtained a doctor’s note that she met job
 requirements, the union would pursue a grievance on her behalf. (Bull
 Testimony, 11/19/ 13 Tr. at 42:19-43:5).

         Bull expressed displeasure, because she believed that the standard was
 50 pounds, not 70. (Id. at 41:18-43:5). She testified that 50 pounds had been
 the standard when she was hired (Id. at 42:14). It had, however, been raised to
 70 pounds thereafter. (Cherney Testimony, 11/22/13 Tr. at 30:12-21). She was
 also displeased that Cherney had not told her about the 70-pound requirement
 initially, before she first went to Dr. Farber. (Bull Testimony, 11 / 21 / 13 Tr. at
 63:10-64:2). It appears, at least based on Cherney’s recounting, that Bull
 believed she enjoyed a vested right to have the 50-pound standard continue to
 apply to her. (Cherney Testimony, 11/22/13 Tr. at 30:12-2 1).

         Two months passed (the delay is largely unexplained). Eventually, Bull
 supplied her union representative with a second, revised note from Dr. Farber,
 dated August 14, 2006. This note was very similar to its predecessor, except
 that it now stated that the “Patient is not able to lift over 70 lbs.” (Ex. P30; Bull
 Testimony, 11 / 19/13 Tr. at 45:17-20).] Ms. Bull faxed that August 14 note to
 her union representative. (Bull Testimony, 11/19/13 Tr. at 45:21-46:5).
 Further confusion ensued. (See Messina Testimony, 11/20/13 Tr. at 186:22-
 187:21). As with the first note from Dr. Farber, the bottom of this note was cut
 off in the faxing process. (Ex. P30). The date when Bull could medically return
 to work was given as June 14, 2006, two months before the date of the note.
 (Ex. P30). As to the disability, the note was ambiguously phrased in the
 negative (“not able to lift over 70 lbs”), when the evident purpose of the note
 was to establish that Ms. Bull was able to lift up to 70 pounds. (Id.).

        A three-way round robin of communications among the union, UPS, and
  the doctor’s office ensued. Ms. Bull was in touch with her union representative,
  trying to get them to advocate her return to work. (Cherney Testimony,
  11/22/13 Tr. at 72:6-20). Sal Messina, the company’s labor relations
  specialist, was also in touch with the union. (Messina Testimony, 11/20/13 Tr.
  at 15 1:16-152:24). Kathleen Deady, UPS’s occupational nurse, got in touch
  with Dr. Farber’s office in an attempt to obtain a clear statement as to Bull’s
  medical condition. (Deady Testimony, 11/21/13 Tr. at 9:8-22; see also Ex. D7).
  In September, an employee at Dr. Farber’s office informed UPS that the Ms.
  Bull had obtained the August 14 note from them, “but was not seen.., she was
  only in [Dr. Farber’s] office one time.” (Ex. P28 (copy of 9/18/06 email from
  Denise Daniels to Kathleen Deady)) The sense of this communication was that
  Bull had seen the doctor in June, but not in August, when she obtained the
  second note. The signature on the note remained mysterious, as it was not

                                           6
Case 2:07-cv-02291-KM-MCA Document 119 Filed 07/01/14 Page 7 of 19 PageID: 6817



 written by the doctor. The most benign interpretation of the evidence, which I
 am inclined to accept, is that someone in Farber’s office signed it as an
 accommodation to Bull.

       Deady had sent Dr. Farber a worksheet in an attempt to obtain a clear
 statement. On September 20, 2006, Dr. Farber’s office faxed UPS the filled-out
 worksheet, which did not really clarify things. (Ex. D10). This sheet reinstated
 the original note’s limitation of 50 (not 70) pounds, but did not explain why.
 (Id.)

      On September 27, 2006, UPS sent a letter to Bull’s union representative,
 which stated in part:

       As you know, we received two notes from Dr. Farber’s office
       regarding Ms. Bull’s ability to return to work; both notes (dated
       June 13, 2006 and August 14, 2006) indicate restricted duty.
       The Company also requests that Ms. Bull produce the original
       notes from Dr. Farber’s office due to the fact that the notes
       received to date are blurry and in some cases illegible.

 (Ex. D13). UPS was concerned that the copies of the notes it received, faxed by
 Ms. Bull, did not accurately reflect the originals. The notes did have problems
 in the sense that they were internally inconsistent, confusing or illegible; at
 trial, however, the evidence did not establish any purposeful tampering, and
 the jury was not asked to make any specific finding as to that issue.

         In September and October 2006, Cherney sent letters to Ms. Bull asking
  for further clarification. (Exs. D12, D14). Bull did not reply to Cherney’s
  requests (see Bull tr. 11/20/13 tr. 83:23-85:13; Exs. D14, D15), and the union
  closed the case. (Ex. D15 (Cherney Letter of 11/3/06)). According to UPS, it
  never received the expected medical clarification, so it did not further pursue
  calling her back or designing an accommodation.

              EEOC claim and outcome

        Meanwhile, on May 12, 2006, Bull had filed a workers compensation
  claim. One doctor examined her in November 2006 and found she was 45%
  permanently disabled, with injuries to the neck and shoulder. (Ex. Dl 15).
  Another found she was 66 2/3% disabled. (Exs. D132, D133). The company
  doctor found her 7’/2% disabled. (Ex. D45). These results were not submitted to
  the union or UPS; the workers compensation case proceeded on a parallel and
  independent course. In 2010, Bull testified in the comp case that she was
  unable to put on a blouse, pull weeds, or perform other simple tasks. (Bull
  Testimony, 11/20/13 Tr. at 35:20-36:13). On June 8, 2012 the workers comp
  claim was settled for a lump sum payment of $22,956. (Exs. P39, P40; see also
  Bull Testimony, 11/19/13 Tr. at 65:6-66:23).

                                         7
Case 2:07-cv-02291-KM-MCA Document 119 Filed 07/01/14 Page 8 of 19 PageID: 6818




                                   DISCUSSION

       I.    Whether a New Trial is Warranted Because the Jury Verdict
             Sheet Improperly Asked, Or Asked In An Improper Format,
             Whether Plaintiff was Terminated

       Ms. Bull’s first argument is that she is entitled to a new trial based on
 inadequacies in the jury verdict sheet. (See Pltf.’s Br. in Supp. Motions at Point
 I, p. 15). She does not contend that there was any error in the court’s
 instructions to the jury regarding the applicable law.

              A. The Applicable Standards

         Rule 59 provides that “[tlhe court may, on motion, grant a new trial on
 all or some of the issues—and to any party— (A) after a jury trial, for any
 reason for which a new trial has heretofore been granted in an action at law in
 federal court; or (B) after a nonjury trial, for any reason...” Fed. R. Civ. P.
 59(a)(1). “Any error of law, if prejudicial, is a good ground for a new trial.” 11
 Charles Alan Wright, Arthur R. Miller & Mary Kay Kane, Federal Practice and
 Procedure Civil § 2805 (3d Ed. 2012). For an error of law to warrant a new trial,
 it must affect a party’s substantial rights. Fed. R. Civ. P. 61. An error in the
 jury charge, or in the jury verdict sheet and its component interrogatories, may
 furnish grounds for a new trial. See DeWitt v. New York State Hous. Fin.
 Agency, 1999 U.S. Dist. LEXIS 13057 at *913 (S.D.N.Y. Aug. 24, 1999). As a
  general matter, “[tihe decision whether to grant a new trial pursuant to Federal
  Rule of Civil Procedure 59(a) lies within the district court’s sound discretion.”
  Inter Med. Supplies v. EBI Med. Sys., 975 F. Supp. 681, 686 (D.N.J. 1997)
  (citing Allied Chemical Corp. v. Daflon, Inc., 449 U.S. 33, 36 (1980)).

          Jury interrogatories are authorized by Federal Rule of Civil Procedure 49.
  “The formulation of jury interrogatories is entrusted to the discretion of the
  trial judge.” Armstrong v. Dwyer, 155 F.3d 211, 216 (3d Cir. 1998). “The only
  limitation [on this discretionj is that the questions asked of the jury be
  adequate to determine the factual issues essential to the judgment.’” Id.
  (quoting McNally v. Nationwide Ins. Co., 815 F.2d 254, 266 (3d Cir. 1987)); see
  also Armstrong v. Burdette Tomlin Mem’l Hosp., 438 F.3d 240, 245-46 (3d Cir.
  2006)). In assessing such adequacy, the court may consider the instructions it
  issued to the jury. See Kant v. Seton Hall Univ., 279 Fed. App’x. 152, 160 (3d
  Cir. 2008). The essential question is whether the jury lacked adequate
  guidance from, or was misguided by, the instructions and verdict sheet it
  received from the court, such that it can be said that the movant’s substantial
  rights were affected. United States v. 564.54 Acres of Land, 576 F.2d 983, 987-

                                          8
Case 2:07-cv-02291-KM-MCA Document 119 Filed 07/01/14 Page 9 of 19 PageID: 6819



 988 (3d Cir. 1978), rev’d on other grounds, 441 U.S. 506 (1979); Inter Med.
 Supplies, 975 F. Supp. at 698 (denying motion for new trial because error in
 the verdict sheet did not lead “jury to mistake the burden of proof’ and “jury
 was properly instructed on the relevant law.”).

       Thus the issue is whether any error in the verdict sheet here affected Ms.
 Bull’s substantial rights by inadequately or incorrectly guiding the jury’s
 findings as to essential issues.
              B. State Law Governing A Failure-to-Accommodate Claim and
                 the Jury Charges, to Which Plaintiff does not Object

        At trial, I agreed with Ms. Bull that her cause of action for discrimination
 under the New Jersey LAD arises under the legal framework for a claim of
 failure to accommodate, a subcategory of employment discrimination.

        That requires some explanation. Plaintiff did not affirmatively plead
 “failure to accommodate” in her complaint. UPS, however, countered Ms. Bull’s
 “handicap discrimination” claim by proffering that she was physically unable to
 perform her job. Under New Jersey Supreme Court precedent, that defense
 raises the issue of whether UPS offered a reasonable accommodation to Ms.
 Bull before taking adverse employment action. See Viscik v. Fowler Equipment
 Co., 173 N.J. 1, 19-20 (2002).
        The basic elements of handicap discrimination by way of a wrongful
 failure to accommodate are that plaintiff (1) has a disability, (2) is otherwise
 qualified to perform the essential functions of the job, with or without a
 reasonable accommodation, and (3) “nonetheless suffered an adverse
 employment action because of the disability.” Seiden v. Marina Assoc., 315 N.J.
 Super. 451, 465-66 (Law Div. 1998). That statement of the essential elements
 of a LAD failure-to-accommodate claim closely mirrors that of the Third Circuit
 in a case brought under analogous federal law. See Shiring v. Runyon, 90 F.3d
 827, 831 (3d Cir. 1996) (holding that an actionable failure to accommodate is
 established by a showing that plaintiff (1) was disabled, (2) was able to perform
 the essential functions of the job, either with or without an accommodation,
 but (3) was “nonetheless terminated or otherwise prevented from performing
 the job,” subject to defendants’ establishment, as an affirmative defense, that a
 reasonable accommodation would constitute an undue hardship).

         In Seiden, for example, the plaintiff suffered from chronic leg pain. When
  asked to work a later shift, he informed his employer that his pain increased
  late in the day. He asked for an accommodation, but was moved to the later
  shift anyway. As a result he regularly called in sick and was eventually fired for
  excessive absenteeism. Id. at 456-458. The court, addressing this fact pattern,
  viewed it as a claim of “discrimination due to a failure to accommodate a
  handicap.” Id. at 455.
                                          9
Case 2:07-cv-02291-KM-MCA Document 119 Filed 07/01/14 Page 10 of 19 PageID: 6820



         Seiden drew an important distinction between failure-to-accommodate
  cases, like this one, and disparate treatment cases. A failure-to-accommodate
  case is not subject to the McDonnell Douglas analysis of disparate treatment.
                                                                       4
  To the contrary, where “the employer denies an employee an opportunity to
  continue employment because the employee suffers from a disability that could
  reasonably be accommodated, but is not, regardless of how other employees
  are treated, that in itself is an unlawful employment practice and a violation of
  LAD.” Id. (citing N.J.S.A. § 10:5-29.1). The Seiden court analyzed the plaintiff’s
  “claim[] [that] as a result of the refusal to accommodate him, he was fired,” and
  held that “[t]hese facts, if proven, amount to an unlawful employment
  practice... the harm to be remedied is the adverse employment action which
  resulted from the failure to accommodate.” Id. at 465.

        Finally, as the parties agreed, when a disability is claimed, and before
  any adverse employment action is taken, an employer and an employee have a
  duty to engage in an interactive discussion in an attempt to find an appropriate
  reasonable accommodation. Failure to confer is not necessarily dispositive of
  the case, but the jury may take such evidence into account. See Tynan v.
  Vicinage 13 of Superior Court, 351 N.J. Super. 385, 400-40 1 (App. Div. 2002);
  Mengine v. Runyon, 114 F.3d 415, 420-42 1 (3d Cir. 1997); Taylor v. Phoenixville
  Sch. Dist., 184 F.3d 296, 317-318 (3d Cir. 1999).

        I instructed the jury in accordance with the principles cited above. (See
  generally Court’s Instructions to Jury, 11/26/13 Tr. at 2:9-29:17). There is no
  contention that the court’s jury charges, as delivered, contained any legal error.

               C. Analysis of Plaintiff’s Contentions

         Ms. Bull contends that, although the court’s jury instructions were
  legally correct, the verdict sheet in effect incorporated an erroneous view of the
  law.

        First, Ms. Bull contends that an employer’s failure to provide a
  reasonable accommodation is adverse employment action. The state case law
  cited above presents the accommodation element and the resulting adverse
  employment action (commonly, termination) as separate elements. But they
  may, Bull says, be the same thing. Implicit in Bull’s first argument is a
  contention that “termination” was superfluous to her case. In her account, the

        4   McDonnell Douglas requires that a plaintiff show “(i) that he belongs to a
  [protected class]; (ii) that he applied and was qualified for a job for which the employer
  was seeking applicants; (iii) that, despite his qualifications, he was rejected; and (iv)
  that, after his rejection, the position remained open and the employer continued to
  seek applicants from persons of complainant’s qualifications.” McDonnell Douglas
  Corp. v. Green, 411 U.S. 792, 802 (U.S. 1973); see also Maher v. New Jersey Transit
  Rail Operations, Inc. 125 N.J. 455, 480-81 (1991)(stating disparate treatment test in
  disability discrimination setting).
                                             10
Case 2:07-cv-02291-KM-MCA Document 119 Filed 07/01/14 Page 11 of 19 PageID: 6821



  jury’s finding that UPS failed to accommodate her disability is sufficient; its
  negative answer to the question whether she was terminated is irrelevant.

        Second, Bull contends that adverse employment action (here,
  termination) is not an independent consideration, but merely the harm that
  emanates from the employer’s failure to reasonably accommodate. Thus, she
  says, the question of whether she was terminated (assuming it should have
  been posed at all) should not have been posed separately. The termination
  issue should have been combined with the “accommodation” issue in a single
  question, in a manner that reflected their “proper causal relationship.” Implicit
  in Bull’s second argument is an attempt to fuse the concepts of “reasonable
  accommodation” and “termination.” In her account, the two must rise or fall
  together, and the jury should not have been given interrogatories that allowed
  them to—as they did—find the first but not the second. The jury, she says, was
  denied the opportunity to find “causation” between the two.

        1.      The parties presented termination as a contested factual
                issue, and the jury was properly asked to resolve it

       The above arguments boil down to a contention that termination of
  employment, as such, is a superfluous consideration. Failure to accommodate,
  Ms. Bull says, is itself sufficient to make her case. In the alternative, she
  argues that failure to accommodate and termination should have been
  combined and presented to the jury in a causal context.

        One threshold problem with these contentions is that they are
  inconsistent with the manner in which Bull postured the issues for decision
  before trial, in the pretrial order, and in the first, abortive trial. Whether or not
  an adverse employment action must involve termination, Ms. Bull always
  contended that the adverse employment action in her particular case was
  termination. The fact, or not, of termination was a hotly contested factual
  issue. The parties jointly submitted “termination” to the court as a factual
  issue that the jury would have to resolve, yes or no.

        Thus the “LIST OF LEGAL ISSUES” in the PTO began as follows:

         1. Whether UPS terminated plaintiff’s employment on April 4, 2006, due
            to her disability.

        2. Whether UPS terminated plaintiff’s employment on April 4, 2006,
           because she sought workers’ compensation benefits.

  (PTO p. 64). One of Bull’s key factual contentions in the Pretrial Order was
  that, on or about April 4, 2006, a UPS supervisor told her that “you no longer
  work for UPS.” (PTO ¶94). She was adamant in the face of UPS’s denials that
  she had been “terminated.” (Id. at ¶102. In short, Bull consistently maintained,

                                           11
Case 2:07-cv-02291-KM-MCA Document 119 Filed 07/01/14 Page 12 of 19 PageID: 6822



  as to both of her causes of action, that she was fired, in so many words, on
  April 4, 2006.

         Bull also presented termination as a separate legal element of her case.
  In her trial brief, Bull stated the legal elements of her prima facie case of failure
  to accommodate as follows: “1. She was disabled within the meaning of the law;
  (2) she was qualified to perform the duties of his position and had been
  performing [j her work at a level that met UPS legitimate expectations; and (3)
  she nevertheless had been fired.” (Pltf.’s Tr. Brf. pp. 2-3 (emphasis added)
  (citing LaResca v. American Tel. & Tel., 161 F. Supp. 2d 323, 329 (D.N.J.
  2001)). As Bull acknowledged in her presentation of the legal issues to the
  Court, the issues of failure to accommodate and termination (“firing”) are not
  fused in the case law; the former is element 2 and the latter is element 3. She
  asserted, correctly in my view, that the employer was obligated to consider and
  discuss “reasonable accommodation before firing, demoting or refusing to hire
  or promote a person with a disability....” (Id. at p. 6). And the jury was so
  charged, at the parties’ request and without objection. (See Court’s Instructions
  to Jury, 11/26/l3Tr. at 12:16-14:16).

        According to Bull’s presentation of her case, on March 29, 2006, UPS
  received a doctor’s note saying that she could lift no more than ten pounds
  overhead. And five days later, on April 4, 2006, without discussing a
  reasonable accommodation with her, UPS fired her—i.e., told her explicitly that
  she did not work there any more.
                             5

        Interrogatories 3 and 4, concerning termination, were not necessary,
  according to Ms. Bull; because adverse action is not necessarily termination,
  the jury should not have been asked about it. But termination is the particular
  adverse action that Bull was claiming. Again and again, she stated that the jury
  would have to determine whether she was fired on April 4, 2006.

        Given the sharply focused and highly contested factual issue of whether
  UPS fired Bull on April 4, 2006, it seemed best to ask the jury directly whether
  termination had occurred. The jury interrogatories did no more than ask the
  jury whether the facts as alleged by Bull were true. The jury answered “No.” It
  agreed that UPS had not offered a reasonable accommodation, but also found
  that UPS never fired Bull, as she had alleged.



         5 Counsel for Ms. Bull also contended, in his closing argument to the jury, that
  UPS’s actions amounted to a termination in fact, even if UPS did not explicitly fire her.
  (Summation of Mr. Zatuchni, 11/25/13 Tr. at 95:25-97:7). Bull never requested that
  the jury be instructed as to, e.g., constructive discharge. The court’s instructions did
  not rule out such a theory of termination, however. Counsel was free to, and did,
  argue it as a commonsense inference. (See id.).

                                             12
Case 2:07-cv-02291-KM-MCA Document 119 Filed 07/01/14 Page 13 of 19 PageID: 6823



        Plaintiff now posits that a set of facts different from the one she alleged
  might also have entitled her to relief; the jury interrogatories were erroneous,
  she says, because they did not explicitly pose an alternative scenario under
  which she might prevail. But the jury instructions fairly presented the jury
  with the facts as she asserted them. And in fairness to the defendant, the
  Court could not permit the plaintiffs case to be such a moving target.
         The jury’s finding that the alleged “firing” never occurred exploded
  Plaintiff’s simple scenario. Of course, UPS, presented with a doctor’s note,
  could not respond by simply firing Plaintiff—but, as the jury found, UPS did
  not do that.

         Why, then, would the Plaintiff present the issue as one of “firing” if there
  are other circumstances under which UPS could nevertheless have been found
  liable? No doubt because those other circumstances were fraught with highly
  complicated issues. For example, as the jury was explicitly instructed, when a
  disability arises, both the disabled employee and the company must cooperate
  in good faith in an interactive process to design a reasonable accommodation.
  (Court’s Instructions to Jury, 11/26/ 13 Tr. at 16:13-21).

         Because—as the jury found—UPS did not immediately fire Plaintiff, the
  matter necessarily entered, or should have entered, that “discussion” phase.
  And that directly implicates the ensuing cycle of miscommunication and the
  notes from Doctor Farber’s office. As to that, the jury could readily have found
  that UPS did not refuse to explore or discuss the issue. Rather, the evidence
  painted a picture of someone who was placed on medical leave but stubbornly
  remained in limbo, failing to take the necessary steps to provide the employer
  proper medical evidence, or even a clear statement of position, as to her ability
  to return to work (whether on an accommodated or un-accommodated basis).
  To be sure, many of Plaintiff’s difficulties might have been attributable, not to
  herself, but to her doctor or her union representative—but Plaintiff did not sue
  her doctor, and she did not sue her union for breach of the duty of fair
  representation. She sued UPS for discrimination, and she alleged,
  unsuccessfully as it turned out, that UPS fired her on April 4, 2006.

         2.     Combining the elements of reasonable accommodation and
                adverse action! termination

         Plaintiffs arguments, as noted above, rely on the merging of the issues of
  reasonable accommodation and termination. For the reasons stated above, the
  factual issues as presented properly called for a pure jury finding, yes or no,
  as to whether plaintiff was fired. But setting that aside, I now discuss the
  notion that the verdict sheet’s isolation of the question of termination was
  erroneous because it did not define termination as something caused by a
  failure to accommodate. (See Pltf’s Br. Supp. Mot. at pp. 19-20).

                                           13
Case 2:07-cv-02291-KM-MCA Document 119 Filed 07/01/14 Page 14 of 19 PageID: 6824



         That issue is most sharply presented by Plaintiff’s second issue, i.e., the
  objection to the order and wording of the jury interrogatories. Plaintiff objected
  to Interrogatories 3 and 4, contending that they should be replaced by an
  alternative, proposed interrogatory. Plaintiff’s proposed interrogatory, inserted
  after the current Interrogatory 8, would have asked whether “UPS terminated
  Ms. Bull without making a required reasonable accommodation, and thereby
  discriminated on the basis of disability.” (Tr. of Trial, 11/26/2013 Tr. at p. 34-
  35).6


        First, the case law, including the much-relied-upon Seiden, firmly
  establishes that adverse employment action must be shown in order to prove
  discrimination by failure to accommodate. And, at least thus far, the New
  Jersey courts have never merged the two elements of failure to accommodate
  and adverse employment action. See Seiden, 315 N.J. Super at 461 (actionable
  discrimination exists where the employee “is not reasonably accommodated
  and suffers an adverse employment action...”); Shiring, 90 F.3d at 831;
  discussion of elements at pp. 9-10, supra.

        The New Jersey Supreme Court, in dicta, has “refrain[ed] from resolving
  [1 whether a failure to accommodate unaccompanied by an adverse employment
  consequence may be actionable.” Victor v. State, 203 N.J. 383, 422 (2010). It
  acknowledged the possibility of an actionable failure to accommodate despite
  the lack of any “identifiable” adverse action. Yet it did not rule affirmatively.
  See id.; see also Durham v. Atl. City Elec. Co., 2010 U.S. Dist. LEXIS 103998,
  28-29 (D.N.J. Sept. 28, 2010) (Kugler, J.). Plaintiff seizes upon this reservation
  of the issue; but the issue was pretermitted, not decided, by the New Jersey
  Supreme Court. Absent a state Supreme Court decision, the case law cited
  above, which is contrary to plaintiff’s position, is my best guide. I can discern
  no trend that would allow me to predict confidently that the New Jersey
   Supreme Court would decide this issue in a manner favoring plaintiff here. 7


          6    See also Pltf’s Br. Supp. Mot. at 19 (“UPS’s failure to provide such a
  reasonable accommodation resulted in and/or caused an adverse employment action!
  termination! loss of employment to Ms. Bull.”) This formulation, in Plaintiff’s post-
  trial brief, perhaps better expresses the objection, but it is not precisely the one that
  Plaintiff proposed at trial.

          “[Tin the absence of guidance from the state’s highest court, we must look to
  decisions of state intermediate appellate courts, of federal courts interpreting that
  state’s law, and of other state supreme courts that have addressed the issue,” as well
  as considered dicta, scholarly works, and other sources of information. Norfolk
  Southern Ry. Co. v. Basell USA Inc., 512 F.3d 86, 92 (3d Cir. 2008) (quoting Koppers
  Co., Inc. v. Aetna Cas. & Sur. Co., 98 F.3d 1440, 1445 (3d Cir. 1996)).



                                             14
Case 2:07-cv-02291-KM-MCA Document 119 Filed 07/01/14 Page 15 of 19 PageID: 6825



  And of course I am doubly reluctant to predict a state court’s holding as to
  issues that plaintiff did not squarely present factually in this case.
         Second, nothing in Seiden or any of the cited materials supports
  Plaintiff’s view that an employer who does not immediately accommodate the
  employee based on a doctor’s note has ipso facto terminated the employee,
  satisfying the adverse action element. Even the Victor court’s dicta stop short of
  any such rule of law. Under currently prevailing law, asking the jury whether
  Ms. Bull was terminated was not only proper, but required.
         Third, the rule proposed by Ms. Bull would subvert the requirement that
  an employer, faced by a claim of impairment, must enter into a dialogue with
  the employee in an attempt to work out whether a reasonable accommodation
  is feasible, before taking adverse employment action. See p. 10, supra (citing
  Tynan, 351 N.J. Super. at 400-01; Mengine, 114 F.3d at 420-42 1; Taylor, 184
  F. 3d at 317-18). If failure to provide an immediate accommodation were
  tantamount to termination, then the time for pre-termination dialogue would
  be over before it began. That concern about jumping the gun is especially
  appropriate in a case like this one, where plaintiff, even in her complaint, did
  not specifically assert failure to accommodate, but only general “handicap
  discrimination.” The reasonable accommodation issue entered this litigation
  when UPS asserted, as a defense, that Bull was unable to perform her job. See
  p. 9, supra (citing Viscik v. FowlerEquzment Co., 173 N.J. 1, 19-20 (2002)).
         Fourth, there is no support for Plaintiff’s view that causation is an
  element of the cause of action, unexpressed in the case law but nevertheless
  fundamental, which links the second and third elements. Nothing in the case
  law requires the Court to set up termination as something which, by its nature,
  results from reasonable accommodation and therefore must be considered as
  part of a single package. Seiden’s dicta lends an scintilla of support to
  Plaintiff’s view, 315 N.J. Super at 465 (stating that “the harm to be remedied is
  the adverse employment action which resulted from the failure to
  accommodate”). I take this, however, to mean that the adverse employment
  action “resulted” from the failure to accommodation in the sense that the
  employer fired (or otherwise penalized) the employee because of the employee’s
  un-accommodated disability. I do not take it to mean that failure to
  accommodate and adverse employment action are the same thing, or that the
  existence of the first implies the second. Seiden’s formulation of the elements
  omits any mention of causation; it uses a simple, conjunctive ‘and’ to separate
  the element of plaintiff’s ability to work with an accommodation from the
  element of adverse action, id. at 461 (“is not reasonably accommodated and
   suffers an adverse employment action...”), 465-66 (listing three essential
  elements). Plaintiff’s counsel was free to argue about the relationship of the
  elements. But because causation is not an element, there is no error in the
   court omitting words such as ‘caused’ or ‘resulted from,’ or in placing
                                          15
Case 2:07-cv-02291-KM-MCA Document 119 Filed 07/01/14 Page 16 of 19 PageID: 6826



 interrogatories about termination before (or after) those about reasonable
 accommodation. In sum, nothing about the interrogatories misrepresents or
 fails to adequately set forth the essential elements of Plaintiff’s claim for the
 jury’s consideration. McNally, 815 F.2d at 266; United States v. 564.54 Acres of
 Land, 576 F.2d at 987-988; Inter Med. Supplies, 975 F. Supp. at 698.
         Plaintiff’s contentions rise or fall with her expanded view of the law,
  which I do not accept. The motion comes nowhere near establishing that the
  particular wording of the interrogatories, which is within the court’s discretion,
  introduced legal error or unfairly prejudiced her case. The proposed alternative
  interrogatories differ in wording, but not in legal substance, from the verdict
  sheet that was used. And the verdict sheet that was used follows the issues as
  Plaintiff presented them, and the elements as established in the New Jersey
  case law.
        The motion for a new trial based on the wording of the jury
  interrogatories is therefore denied.

        II.   Whether the Jury’s Answers to the Verdict Sheet’s
              Interrogatories are Inconsistent, Warranting Judgment
              Notwithstanding the Verdict or a New Trial

         Ms. Bull’s second argument is that “the jury’s interrogatory answers in
  the verdict sheet are irreconcilable and inconsistent with each other, thus
  necessitating a directed verdict in favor of Ms. Bull or a new trial.” (Piti’s Br.
  Supp. Motion at Point II, p. 21). Ms. Bull states that the jury’s answers to
  Interrogatories 3 and 4 (finding no termination and thus no discrimination) are
  “entirely inconsistent” with its answers to Interrogatories 5 through 8 (finding
  that UPS failed to reasonably accommodate Ms. Bull’s disability). “[B]oth
  findings cannot be true at the same time or otherwise co-exist with each other,”
  says Plaintiff. (Id.).

        This motion is brought pursuant to Federal Rule of Civil Procedure 49. In
  particular, Ms. Bull contends that Rule 49(b)(4) applies. (Id.). It provides that:

              When the answers [to verdict sheet interrogatories] are
              inconsistent with each other and one or more is also
              inconsistent with the general verdict, judgment must
              not be entered; instead, the court must direct the jury
              to further consider its answers and verdict, or must
              order a new trial.

  Fed. R. Civ. P. 49(b)(4). In this situation, “two choices are open to the district
  court. It may return the jury for further consideration of its answers and
  verdict, or it may order a new trial. No immediate judgment may be entered
  when the jury’s answers are inconsistent with each other and one or more is

                                          16
Case 2:07-cv-02291-KM-MCA Document 119 Filed 07/01/14 Page 17 of 19 PageID: 6827



  inconsistent with the general verdict, however.” 98 Charles Alan Wright and
  Arthur R. Miller, Federal Practice and Procedure Civil § 2513, n.22-23 (3d Ed.
  2008). Indeed, directing a verdict is an option only where the jury’s answers are
  internally consistent with each other, but inconsistent with the general verdict.
  See Fed R. Civ. P. 49(b)(3).

         First, I rule out judgment as a matter of law notwithstanding the verdict.
  Ms. Bull claims that the answers are inconsistent with each other, a situation
  that permits, at most, a new trial. See Fed. R. Civ. P. 49(b)(4). Ms. Bull also
  fails to argue that the answers are “inconsistent with the general verdict.” See
  Fed. R. Civ. P. 49(b)(4). Her contention seems to be that one answer is, and the
  other isn’t.

         I turn to the new trial motion, with the proper Rule 49 standard in mind.
  Ms. Bull’s complaint that the jury’s findings are mutually inconsistent rests on
  her legal contention that a failure to reasonably accommodate is termination.
  Therefore, she reasons, a jury cannot answer “yes” to one interrogatory and
  “no” to the other. As discussed above, however, even Seiden, the case on which
  she relies, holds that adverse employment action is a separate element, and
  nowhere suggests that it is automatically fulfilled if the element of failure to
  accommodate is established. 315 N.J. Super at 461, 465.

          Accordingly, I will deny this component of Plaintiff’s post-trial motion as
  well.



          III.   Whether UPS was Entitled to Judgment as a Matter of Law On
                 the Basis of Preemption by Federal Labor Law

        UPS cross-moves for judgment as a matter of law, renewing the Rule 50
  motion it made at the close of Plaintiff’s case and incorporating by reference the
  papers it filed at that time. The gist of UPS’s argument is that the Ms. Bull’s
  LAD claims necessarily require interpretation of the terms of the collective
  bargaining agreement (CBA) to which she was a party. Thus, says UPS, Section
  301 of the Labor Management Relations Act (LMRA) preempts Ms. Bull’s LAD
  suit and requires her to pursue the dispute resolution mechanisms set forth in
  the CBA. In support, UPS cites a number of references to the CBA in the
  evidence at trial. (Dfd’s Br. Supp. Mot. Dir. Verdict (ECF No. 98) at pp. 4-2 1).

         LMRA preemption arises from the provision stating: “Suits for violation of
  contracts between an employer and a labor organization representing
  employees in an industry affecting commerce         .  may be brought in any
                                                          .   .



  district court of the United States having jurisdiction of the parties.” LMRA §
  301, 29 U.S.C. § 185(a). The Supreme Court has held that “questions relating
  to what the parties to a labor agreement agreed, and what legal consequences

                                           17
Case 2:07-cv-02291-KM-MCA Document 119 Filed 07/01/14 Page 18 of 19 PageID: 6828



  were intended to flow from breaches of that agreement, must be resolved by
  reference to uniform federal law, whether such questions arise in the context of
  a suit for breach of contract or in a suit alleging liability in tort.” Allis-Chalmers
  Corp. v. Lueck, 471 U.S. 202, 211 (1985). Thus, Section 301 preemption comes
  into play where “resolution of a state-law claim depends upon the meaning of a
  collective-bargaining agreement.” Lingle v. Norge Div. of Magic Chef; Inc., 486
  U.S. 399, 406 (1988).

         Such preemption, however, is limited in scope: “Not every dispute
  concerning employment, or tangentially involving a provision of a collective-
  bargaining agreement, is preempted by § 301 or other provisions of federal
  labor law  .   . it would be inconsistent with congressional intent under that
                     .



  section to pre-empt state rules that proscribe conduct, or establish rights and
  obligations, independent of a labor contract.” Lueck 471 U.S. at 211-2 12. The
  LMRA thus has no preemptive effect where there are “state rules that proscribe
  conduct, or establish rights and obligations, independent of a labor contract,”
  id. at 212, or “where the state law claim can be resolved without substantially
  interpreting the collective bargaining agreement itself.” Id. at 220; see also
  Lingle, 486 U.S. at 409-10. The relevant inquiry is whether “resolution of
  Plaintiff’s claim [1 require[s] ‘interpretation’ of the [relevant] CBA,” or at least
  will “involve ‘a substantial issue of construction and operation of the CBA[.]’”
  LaResca v. AT&T, 161 F. Supp. 2d 323, 330-31 (D.N.J. 2001) (Bassler, J.). That
  a case involves “reference to or consideration of the terms of a collective-
  bargaining agreement” does not warrant preemption, as this does not signal
  that the litigated issues require interpretation of the CBA. Id. at 330 (quoting
  Ramirez v. Fox Television Station, Inc., 998 F.2d 743, 749 (9th Cir. 1993)). A
  court must, on a “case by case basis,” determine whether the state law claims
  are “inextricably intertwined with considerations of the terms of the labor
  contract.” Lueck, 471 U.S. at 213, 220.

         Applying the principles cited above, judges of this Court have held that
  “[s]tate discrimination laws are generally not preempted by federal labor law.”
  LaResca, 161 F. Supp. 2d at 330. Echoing earlier precedent from this district,
  LaResca “concluded that the LAD was not pre-empted by § 301 of the LMRA
  because ‘state law discrimination claims under the NJLAD are derived
  independently from state law, and not from the obligations assumed by the
  parties under the labor agreements.”’ Id. (quoting Carrington v. RCA Global
  Communications, Inc., 762 F. Supp. 632, 641-42 (D.N.J. 1991) (Debevoise, J.)).

        In LaResca, a plaintiff who had suffered epileptic seizures was asked to
  work a night shift. Because he could no longer drive and required public
  transit that was unavailable late at night, he requested as an accommodation
  that he be put on the day shift. Eventually he was terminated. Defendant, in
  response to his state law discrimination claim, argued that the requested
  accommodation was not feasible because “Article 38 of the 1995 CBA, which

                                            18
Case 2:07-cv-02291-KM-MCA Document 119 Filed 07/01/14 Page 19 of 19 PageID: 6829



  mandates that shifts be assigned based on seniority, precluded it from granting
  Plaintiff’s request for change to a day shift.” Id. at 329. Judge Bassler rejected
  that preemption argument. There was no real dispute over the meaning or
  validity of the CBA; rather, the defendant, like UPS here, asserted it as a
  defense to its failure to offer a reasonable accommodation. The issue, in short,
  was failure to accommodate, not seniority. Id. at 331.

        Here, UPS asserts that “multiple provisions of the CBA were presented
  and discussed in the trial evidence.” (Dfd’s Br. Supp. Mot. Dir. Verdict at pp. 4-
  9). For example, the jury’s consideration of “termination” would naturally
  invoke the CBA’s termination procedures. Ms. Bull’s entitlement, or not, to see
  a third party doctor, and other matters of medical procedure, are similarly
  governed by the CBA. UPS cites other, similar examples.

         The CBA may have been relevant to the determination of certain issues of
  fact, but there is no dispute about what it says, what it means, whether it is
  valid, or whether Ms. Bull is bound by it. Like the defendant in LaResca, UPS
  cites the CBA to bolster its case and justifr its actions. That is perfectly
  permissible, but it does not transform this case into one about, or arising from,
  the CBA. Rather, this is a state-law LAD case based on “rules that proscribe
  conduct” and on “establish[ed] rights and obligations, independent of a labor
  contract,” Lueck at 211-212. Whether Ms. Bull was reasonably accommodated
  or terminated are factual issues as to which the CBA is relevant, but not
  determinative. Ms. Bull’s LAD claims are not preempted by virtue of the CBA.
  Cf LaResca, 161 F. Supp. 2d at 330; Carrington, 762 F. Supp. 632, 64 1-42.

        Accordingly, I will deny the motion of UPS pursuant to Rule 50.

                                   CONCLUSION

         For the reasons stated above, In accord with the above determinations, I
  shall DENY Plaintiff’s motion for judgment notwithstanding the verdict and/or
  a new trial. I shall also DENY Defendant’s renewed motion for a directed verdict
  based on preemption. I shall enter Judgment in accord with the jury’s verdict
  in favor of Defendant.


  Dated: Newark, New Jersey
         July 1, 2014


                                       HO      .   KEVIN MCNULTY, U.SJYJ




                                          19
